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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                     July 8, 2021

Michelle M. Sweet, Esq.
Federal Public Defender
District of Oregon
101 SW Main Street, Suite 1700
Portland, OR 97204

       Re:      United States v. Jonathanpeter Allen Klein & Matthew Leland Klein
                Case No. 21-CR-237

Dear Counsel:

        I am writing to give you an opportunity to obtain copies of your client’s electronic devices
and to view physical evidence in this case. I have attached a list of evidence seized from your
client. The government will also produce in discovery reports for all accounts and electronic
devices related to your client. Generally, that discovery will include a forensic report documenting
the portions of the account or device that were deemed responsive to a warrant, and not the entirety
of the device or account.

        In the meantime, if you would like a copy of the government’s extraction from any of the
electronic devices on the attached list, please place an “X” in the cell next to the device(s) and
return the spreadsheet to me. Extractions for computers will be E01 files that are not readily
viewable without forensic software. For mobile devices, we will generally provide a Cellebrite
reader report which is an executable file and will open on any Windows machine. I will contact
the FBI to determine the location of any requested device(s) and to obtain a recommendation for
the size and type of hard drive that will be required. I will then provide you a name and address
where you can send (or have a vendor send) a hard drive to have the images loaded. The FBI will
return your hard drive directly to the address you specify. Accordingly, please ensure that the hard
drive is clearly labeled with the defendant’s name and case number as well as a point of contact to
receive the drive including, name, firm, address, and telephone number.

       Generally, depending on the location and number of devices at issue, the government
estimates that it could take approximately thirty days to complete this process.
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         Please let us know if there are additional seized accounts or devices that you seek because
they belong to your client. Finally, if you would like to inspect any of the physical evidence seized
in this case, please let me know.

                                                      Sincerely,

                                                      s/ Christopher K. Veatch
                                                      CHRISTOPHER K. VEATCH
                                                      Assistant United States Attorney
Enclosure(s)




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